             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                         CIVIL NO. 1:07CV127-1-T
                                (1:02CR4)

HARRY MOODY,                  )
                              )
                  Petitioner, )
                              )
           Vs.                )                          ORDER
                              )
UNITED STATES OF AMERICA,     )
                              )
                  Respondent.)


      THIS MATTER is before the Court on Petitioner’s motion for leave to

file an additional affidavit in support of his response to the Respondent’s

motion for summary judgment and his cross motion for summary judgment.

      The Court will allow Petitioner’s filing of the additional affidavit and

provide the Respondent with an opportunity to file response to the

Petitioner’s cross motion for summary judgment.

      IT IS, THEREFORE, ORDERED that Petitioner’s motion for leave to

file an additional affidavit is ALLOWED, and the affidavit and supporting

document is deemed timely filed nunc pro tunc.




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     IT IS FURTHER ORDERED that Respondent’s reply to the

Petitioner’s cross motion for summary judgment shall be filed on or before

September 28, 2007.



                                     Signed: September 11, 2007




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